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Gross, et al. vy, Knauf Gips KG, et al.
Exhibit “B”— Defendants Named in
Mary Anne Benes’ Substituted and Amended Omnibus Class Action Complaint (II)

84 Lumber Company, LP

A & C Development, LLC

Aarco, LLC

Aburton Homes, Inc.

Ace Home Center, Inc.

Aced Interior Drywall, Inc.

Adam Homes Realty, Inc.

Adams Homes of Northwest Florida, Inc.
Adams Homes Realty, Inc.

Adnan Kornman

Advantage Builders of America, Inc. a/k/a
Advantage Builders of SWFL, Inc.

Aggies First Call Contractors
Albanese-Popkin The Oaks Development
Group, L.P.

Albert Howard, Jr.

All County Drywall Services, Inc.
American Gallery Development Group, LLC
Amerisouth, Inc.

Andre Rodgers, Carpenter

Angel Developments, LLC

Aranda Homes, Inc.

Atchafalaya Homes

Aubuchon Homes, Inc.

Avalon Building Corporation of Tampa Bay
Avalon Preserve Developers, L.L.C.

B &B Stucco, Inc.

Bailey Lumber & Supply Company of Biloxi
Bailey Lumber & Supply Co.

Banner Homes of Florida, Inc.

Banner Supply Co.

Banner Supply Company Fort Myers, LLC
Banner Supply Company Pompano, LLC
Baron Construction Co.

Bass Homes, Inc.

Bay Colony-Gateway, Inc.

Bayou Building Products, LLC

Baywood Construction, Inc.

BBL - Florida, LLC

Beazer Homes Corp.

Belfor USA Group, Inc.

Bell Construction

Beta Drywall, LLC

Billy Wayne Goekler

BJ&K Construction, Inc.

Black Bear Gypsum Supply, Inc.
Blanchard Homes, Inc.

Boyle Lumber Company

Bradford Lumber & Supply , Inc.
Brandon Gremillion

Brent Garrod Drywall, Inc.

Brian Saltalmachia

Brothers Properties, LA, LLC
Building Supply House, LLC
Buras Construction LLC,

Burmon Properties, LLC

By George, Inc.

C & N Construction Co. LLC
C.A. Steelman, Inc.

C.L. Paul Plastering, Inc.

C&L Roofing and Remodeling —
Cajun Construction & Design, Inc.
Capital Construction

Capitol Materials, Incorporated
Carter Custom Homes, Inc.

CB Dupree Construction, LLC
Cemex, Inc. (formerly CSR Rinker)
Centerline Homes at Tradition, LLC
Centerline Homes Construction, Inc.
Centerline Homes, Inc.

Centerra Homes, LLC

Chase Construction, Inc.

Chateau Bourbon, LLC

Chateau Development LLC
Chavez

Cloutier Brothers, Inc.

CMH Manufacturing, Inc.

Colvin Homes , Inc.

Comfort Home Builders, Inc.
Completed Communities I, LLC

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Conti Construction Company, Inc.
Continental Classic Construction, Inc,
Coral Plastering & Wall Systems, Inc.
Core Construction, LLC

Cornerstone Builders, LLC

Curington Contracting, Inc.

Curtis Lee Wimberly General Contractor
Incorporated

Custom Homes by Kaye, Inc.

Cypress Builders, Inc

D. R. Horton, Inc.

D.R. Horton, Texas, Ltd.

Daniel De Loughy Homes, Inc. d/b/a
Tropical Homes

Dave Walker Construction, Inc.
Dave’s Drywall

David W, Stewart, Inc.

DeLaCruz Drywall Plastering & Stucco, Inc.
Deloach Corporation

Delta Lumber Co. Building Supply
Devon International Group, Inc.
Diamond Court Construction Co.
Done-Rite Construction

Drywall Done Right

Dupont Builders, Inc.

Dupree Construction Co. , LLC
Dwayne Williams

Dynamic Contractors

E. Jacob Construction, Inc.

Eagle Builders, Inc.

Ed’s Drywall & Construction
Edwards Construction Company

Eric Bolden

Everglades Lumber and Building Supplies,
LLC

Federal Construction Specialist, Inc.
First Choice Drywall Services, Inc.
First Choice Homes of $.W. Florida, Inc.
First Home Builders of Florida J, inc.
First Home Builders, Inc.

Fleetwood Homes of Florida, Inc.
Fleetwood Homes of GA, Inc.
Flonda Style Services, Inc.

G & F Drywall

G, Drywallis Corp.

Gabourel’s Construction, L.L.C.
Gant & Shivers

Garraway’s Stores, Inc.

Gatco Construction, Inc.

Gator Gypsum, Inc.

George Meza

Global Trading of Louisiana, LLC
Grogan Construction and Real Estate, Inc.
Groza Builders, Inc.

Gulf Coast Drywall Building Products, LLC
Gulf Coast Shelter, Inc.

Gulf Coast Supply, Inc.

Gulf South Drywall

Hanover Homes, Inc.

Hansen Homes of South Florida, Inc.
Hartsville Lumber & Barns, Inc.

HC Seals Drywall Partners

Heights Properties, L.L.C.
Hendrickson Contracting

Heritage Homes, Inc.

Hilhard Butler Construction Company, Inc.
HLP/GAC Intemational, Inc.
Holiday Builders, Inc.

Holmes Building Materials, LLC
Home Depot USA, Inc.

Homes of Merit, Inc.

Horton Homes, Inc.

Hulsey-Nezlo Construction, LLC
Infinity Homes, Inc

Inman Construction Services, Inc.
Interior Exterior Building Supply, LP
Interior Exterior Enterprises, LLC
Interior-Exterior

Ironwood Properties, Inc.

J &S Drywall

J. B. Homes, Inc.

Jacob Chapman

Jade Organization General Contractor, LLC
James Kayser

James Walker

Jay 3? Construction, LLC

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Jeff Laporte

Jim Kom Builders, LLC

Jim Walter Homes, Inc.

Jim Walter Homes, L.L.C.

John Kidd

John P, Gregg

Johnny Weary

Johnson & Johnson Home Repairs, L.L.C.
JP Renovations, Inc.

K. Hovnanian First Homes, LLC
K&B Homes, Inc.

Karr Drywall, Inc.

Kaye Homes, Inc.

KB Home Florida, LLC

KB Home Jacksonville, LLC
KB Home Orlando, LLC

KB Home/Shaw Louisiana, L.L.C.
KB Home Tampa, LLC

KB Homes Fort Myers, LLC
KC2 Investments, LLC

Kelley Drywall, Inc.

Kenneth B. Speights Construction Co.
Kenneth Campo

Kenwood Homes, Inc.

Kimball Hill Homes Florida, Inc.
L.A. Homes, Inc.

L’Oasis Builders Incorporated
L&J Builders, Inc.

L&W Supply Corporation d/b/a Seacoast
Supply Company

La Homes and Properties Inc.
Lakeridge Builders, Inc.

Laporte Family Properties, LLC
Lavish Holding Corp.

Lawrence McCorvey

Lee Roy Jenkins Builder, Inc.
Legend Custom Builders, Inc.
Lennar Corporation

Lennar Homes, LLC

Leon Ramsey

Leroy Laporte, Jr.

Lowe’s Home Centers, Inc.

LPR Builders, Inc.

LTL Construction, Inc.

Lucas Construction Corporation

M & M Construction

M/I Homes, Inc.

MacGlen Builders, Inc.

Magnolia State Construction, Inc.
Magnum Development, LLC

Maguel Torez

Majestic Homes of Port St. Lucie, Inc.
Mario Salvana

Maronda Homes, Inc. of Florida
Martinez Drywall & Painting, LLC
Marvins Building Materials and Home
Centers

Master Builders of South Florida, Inc.
Mat D Construction

MATSA Construction

Mazer’s Discount Home Centers, Inc.
McCar Homes-Tampa, LLC

McLean Drywall

Meadows of Estero-Bonita Springs Ltd.
P'ship d/b/a Shelby Homes

Medallion Homes Gulf Coast, Inc.
Medallion Homes, LLC

Meeks Drywall & Stucco, Inc.
Meritage Homes of Florida, Inc.

Mesa Construction Group, Inc.

MGB Construction

Michael Hownrd

Mike Jones Construction, Inc.

Miller Construction Company
Mitchell Homes, Inc.

Modem Construction Group, Inc.
Monzelie Diles

MW Johnson Construction of Florida, Inc.
Negotiable Remodeling

Norman Gannon

North Pacific Group

NuWay Drywall, LLC

O.C.D. of S. Florida, Inc.

Oakwood Mobile Homes, Inc.

Ocean Springs Lumber Company, L.L.C.
Oyster Bay Homes, Inc.

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P.D.C. Drywall Contractors, Inc.

Palm Isles Holdings, LLC

Paramount Quality Homes Corp.
Parkview Homes Realty, Inc.

Parr-Self, Inc.

Pate Stevedore Company of Pensacola
Patter Construction Services

Paul England Construction

PFS Corporation

Picayune Discount Building Supply

Pine Ridge Development, Inc.

Pine Ridge Rea! Estate Enterprises, L.L.C.
Pod Homes, LLC

Port of Pensacola Users Association, Inc.
Precision Drywall, Inc.

Premiere Design Homes, Inc.

Pride Homes of Lakes by the Bay - Parcel
H, LLC

Princeton Homes, Inc.

Pulte Home Corporation

Pyramid Construction Corporation

R & B Housing, LLC

R & H Masonry Contractors, Inc.

Ray Horvath Drywall, Inc.

Redman Homes, Inc.

Renfrow Insulation & Supply

Renfrow Insulation I

Residential Drywall, Inc.

Richard Jones Construction Company, Inc.

Rivercrest LLC/St. Joe & Company
RJL Drywall, Inc.

RNB Construction

Rocky Ruckman

Roman Gonzalez

Ross Home Builders, Inc.

Russ Mills

Rylex Homes, Inc.

S. Petersen Homes, Inc.

S&D Specialists, Inc.

Sands Construction Group, LLC
SC Builders, L.L.C.

Seaside Development, LLC
Sedgwick Developers, Inc.

Shelby Homes, Inc.

Shelter Products, Inc.

Shoma Homes, Inc.

Shoma Homes Splendido, Inc.
Signature Series Homes, Inc.

Smith Family Homes Corporation
Smoky Mountain Materials, Inc.
Sorrento Lumber Co., Inc.

South Kendall Construction Corp.
Southern Homes, LLC

Southern Homes of Broward XI, Inc.
Southern Star Construction Company, Inc.
Space Coast Truss, LLC

Speedy Drywall

Speights Cash & Carry

Springhill, LLC

Standard Pacific Homes of South Florida,
GP, Inc.

Standard Pacific of Southwest Florida GP,
inc,

Statewide Associates, Inc.

Steve Harrington Homes, Inc.

Steve Suchmel

Steven R. Carter, Inc.

Stewart’s Remodeling & Electrical
Stine Lumber, LLC

Stock Development, LLC

Suarez Housing Corporation
Summit Homes, LLC n/k/a PHL
Construction, LLC

Sun Construction, LLC

Sunrise Construction and Development,
LLC

Sunrise Homes

Swedberg Enterprises, Inc.

Taylor Morrison, Inc.

Taylor Morrison Services, Inc.

The Haskell Company

The Jade Organziation, inc.

The Ryland Group, Inc.

Thomas R. Gould, Inc.

Thompson Wood Products, Inc.
Tillman Construction, Inc.

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Timberline Builders, Inc.

Timberline Homes

Titan Demolition and Construction, LLC
Toll Estero Ltd. Partnership, d/b/a Toll
Brothers

Total Community Action

Treasure Coast Communities, Inc.
Trust America Homes, Inc.

United Drywall & Stucco, Inc.

United Home Builders, Inc.

United Homes, Inc.

USG Corporation

US Home Corporation, a Delaware
Corporation

Veal Enterprises, Inc.

Venture Homes

Venus Street, LLC

Victor Bustillos

VP Construction Services, Inc.

W.B. Howland Co., L.L.C.

Walter Ferri

Waterways Joint Venture IV
Waterways Joint Venture IV, LLC

WB Construction Company, Inc.
Wellington Shores-Wellington Limited
Partnership

Westerheim Properties, Inc.

William Hurst

William P. Joseph Jr. Construction, Inc.
Willie Kelly Construction Co.
Woodland Enterprises, Inc.

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